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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE,

       Plaintiff,

       v.                                          Civil Action No. 1:22-cv-00027-TSC

ROBERT J. CONTEE III, et al.,

       Defendants.


 DEFENDANTS DISTRICT OF COLUMBIA AND ROBERT J. CONTEE’S MOTION
FOR DISMISSAL OF PLAINTIFF’S COMPLAINT OR, ALTERNATIVELY, MOTION
                 FOR PARTIAL SUMMARY JUDGMENT

       Defendants District of Columbia (the District) and Chief of the Metropolitan Police

Department (MPD) Robert J. Contee (Chief Contee) move for dismissal of Plaintiff’s Complaint

under Fed. R. Civ. P. 12(b)(5) and 12(b)(6), and alternatively move under Fed. R. Civ. P. 56(a)

for partial summary judgment. Plaintiff has not properly served Chief Contee with process and,

even if she had, her claims against the Chief are improperly based solely on respondeat superior

liability. Further, Plaintiff’s 42 U.S.C. § 1983 claims under the Fifth, Eighth, and Fourteenth

Amendment, as well as claims brought under 42 U.S.C. § 1981, are improperly pled, and her

First and Fourth Amendment claims against the District fail to state a claim of municipal

liability. As a result, the Court should dismiss all claims against Chief Contee and all

constitutional claims against the District. Nor has Plaintiff served the District with timely notice

of her common law claims under D.C. Code § 12-309, and so the District is entitled to summary

judgment as to all of Plaintiff’s common law claims.

       A memorandum of points and authorities and a proposed order are attached for the

Court’s consideration
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Date: July 6, 2022,                        Respectfully submitted,

                                           KARL A. RACINE
                                           Attorney General for the District of Columbia

                                           CHAD COPELAND
                                           Deputy Attorney General
                                           Civil Litigation Division

                                           /s/ Alicia M. Cullen/cc
                                           ALICIA M. CULLEN [1015227]
                                           Chief, Civil Litigation Division, Section III

                                           /s/ Robert A. DeBerardinis, Jr.
                                           ROBERT A. DEBERARDINIS, JR. [335976]
                                           Senior Assistant Attorney General
                                           JAMES A. WILEY 1
                                           Assistant Attorney General
                                           Civil Litigation Division
                                           400 6th Street NW
                                           Washington, D.C. 20001
                                           Phone: 202-724-6642; 202-724-6511
                                           Fax: 202-741-8895
                                           Email: robert.deberardinis@dc.gov;
                                           jim.wiley@dc.gov

                                           Counsel for Defendants District of Columbia and
                                           Robert J. Contee III




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       Admitted to practice only in the State of California. Practicing in the District of
Columbia under the direct supervision of Alicia Cullen, a member of the D.C. Bar, under D.C.
Court of Appeals Rule 49(c)(4).
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